   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 1 of 61




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

FREDRIC A. GUENTHER, an                §
individual; and WALTON FUJIMOTO,       §
an individual, and LESLIE OWEN, an     §
individual,                            §
                 Plaintiffs            §
                                       §
      v.                               §
                                            Civil Action No. 4:16-CV-995
                                       §
BP RETIREMENT ACCUMULATION             §
PLAN, by its Plan Administrator, the   §
Senior Vice President of Human         §
Resources of BP CORPORATION            §
NORTH AMERICA INC.; and BP             §
CORPORATION NORTH AMERICA              §
INC., a corporation,                   §
                 Defendants.           §
                                       §

    DEFENDANTS’ MOTION FOR JUDGMENT ON PARTIAL FINDINGS
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 2 of 61




                                             TABLE OF CONTENTS

                                                                                                                               Page

NATURE AND STAGE OF THE PROCEEDING ............................................................ 1

STATEMENT OF ISSUES TO BE RULED UPON BY THE COURT ............................ 1

ARGUMENT....................................................................................................................... 3

         I.        There Are No Statutory Disclosure Claims At Issue. ................................... 3

         II.       Plaintiffs Cannot Recover For Fiduciary Breach Because They
                   Failed To Sue The Fiduciary. ........................................................................ 5

         III.      Plaintiffs’ Fiduciary Breach Claim is Untimely Under 29 U.S.C.
                   § 1113. ......................................................................................................... 15

                   a.        Plaintiffs’ claim is subject to—and barred by—ERISA’s
                             statute of repose. .............................................................................. 16
                   b.        Plaintiffs’ “actual knowledge” of the claim asserted does not
                             extend their time to file suit. ............................................................. 20
                   c.        There is no evidence of fraud or concealment. ................................ 23
                   d.        ERISA’s statute of repose is not subject to equitable tolling. .......... 27

         IV.       The Evidence Does Not Establish A Knowing or Intentional
                   Misrepresentation. ....................................................................................... 29

                   a.        Plaintiffs Have Not Met Their Burden of Proof. .............................. 29
                   b.        Plaintiffs’ attempts to claim omissions in the 1989
                             communications are based on obligations the law did not
                             create. ............................................................................................... 37
                   c.        This case is not Amara or Osberg. ................................................... 41

         V.        Plaintiffs’ Continued Reliance On Alleged Oral Statements and
                   Isolated Communications Prevents Class-wide Recovery. ......................... 45

         VI.       Fujimoto’s Release Bars His Claim, And Those Of The Sub-Class
                   He Represents. ............................................................................................. 48

CONCLUSION ................................................................................................................. 51




                                                                 i
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 3 of 61




                                            TABLE OF AUTHORITIES

                                                                                                                            Page(s)

Cases

Acosta v. Pac. Enterprises,
   950 F.2d 611 (9th Cir. 1991), as amended on reh'g (Jan. 23, 1992) ............................. 6

Adams v. The Brink's Co.,
   420 F. Supp. 2d 523 (W.D. Va. 2006) ......................................................................... 26

Aetna Health Inc. v. Davila,
   542 U.S. 200 (2004) ..................................................................................................... 12

Alasin v. Westinghouse Savannah River Co.,
   No. CIV.A.1:05-1045HFF-B, 2008 WL 2169427 (D.S.C. May 23,
   2008) ............................................................................................................................ 48

Amara v. Cigna Corp.,
  534 F. Supp. 2d 288 (D. Conn. 2008) .......................................................................... 41

Amara v. CIGNA Corp.,
  775 F.3d 510 (2d Cir. 2014) ......................................................................................... 44

Bacon v. Stiefel Lab'ys, Inc.,
   No. 09-21871-CV-KLNG, 2011 WL 4944122 (S.D. Fla. Oct. 17, 2011) ................... 51

Bannistor v. Ullman,
   287 F.3d 394 (5th Cir. 2002) ......................................................................................... 7

Barnes v. Lacy,
   927 F.2d 539 (11th Cir. 1991) ..................................................................................... 35

In re BP P.L.C. Sec. Litig.,
    2017 WL 914995 (S.D. Tex. Mar. 8, 2017) ................................................................. 36

In re BP p.l.c. Sec. Litig.,
    No. 4:10-CV-4214, 2015 WL 6674576 (S.D. Tex. Oct. 30, 2015) ............................. 12

Browdy v. Hartford Life & Accident Ins. Co.,
   630 F. App’x 278 (5th Cir. 2015) ................................................................................ 37

Burlington N. & Santa Fe Ry. Co. v. Skinner Tank Co.,
   419 F.3d 355 (5th Cir. 2005) ....................................................................................... 17


                                                                  ii
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 4 of 61




Cal. Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc. (“CalPERS”),
   582 U.S. 497 (2017) ..................................................................................................... 28

Callery v. Exxonmobil Corp.,
   No. CV H-21-1086, 2021 WL 3711180 (S.D. Tex. Aug. 20, 2021) ........................... 39

Chaplin v. NationsCredit Corp.,
  307 F.3d 368 (5th Cir. 2002) ................................................................................. 48, 50

Chavez v. Sumner,
  No. 10-0313, 2012 WL 13059711 (S.D. Tex. 2012) ................................................... 24

Christianson v. Colt Indus. Oper. Corp.,
   486 U.S. 800 (1988) ....................................................................................................... 4

Cigna Corp. v. Amara,
   563 U.S. 421 (2013) ......................................................................................... 14, 41, 44

Clayton v. ConocoPhillips Co.,
   722 F.3d 279 (5th Cir. 2013) ....................................................................................... 49

Corcoran v. Bell Atlantic Corp.,
   159 F.3d 1350 (3d Cir. 1998) ....................................................................................... 21

Curtiss–Wright Corp. v. Schoonejongen,
   514 U.S. 73 (1995) ....................................................................................................... 39

D & S Marine Transp., L.L.C. v. S & K Marine, L.L.C.,
   No. CIV.A. 14-2048, 2015 WL 5838220 (E.D. La. Oct. 7, 2015) .............................. 11

De Vito v. Liquid Holdings Group, Inc.,
   No. CV156969KMJBC, 2018 WL 6891832 (D.N.J. Dec. 31, 2018) .......................... 11

Dekalb Cnty. Pension Fund v. Transocean Ltd.,
   817 F.3d 393 (2d Cir. 2016) ......................................................................................... 11

Dusek v. JPMorgan Chase & Co.,
  832 F.3d 1243 (11th Cir. 2016) ................................................................................... 10

In re Dynegy, Inc. ERISA Litig.,
    309 F. Supp. 2d 861 (S.D. Tex. 2004) ......................................................................... 29

U.S. ex rel Erskine v. Baker,
   213 F.3d 638 (5th Cir. 2000) ....................................................................................... 28




                                                              iii
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 5 of 61




Fed. Deposit Ins. Corp. for Colonial Bank v. First Horizon Asset Sec. Inc.,
   291 F. Supp. 3d 364 (S.D.N.Y. 2018).......................................................................... 10

Fitzwater v. CONSOL Energy, Inc.,
    No. 1:17-CV-03861, 2019 WL 5191245 (S.D.W. Va. Oct. 15, 2019) ........................ 47

In re Ford Motor Co.,
    591 F.3d 406 (5th Cir. 2009) ......................................................................................... 4

Gosselink v. Am. Tel. & Tel., Inc.,
  No. CIV.A. H-97-3854, 1999 WL 33737341 (S.D. Tex. Aug. 4, 1999) ............... 17, 24

Grp. 1 Auto., Inc. v. Aetna Life Ins. Co.,
   No. 4:20-CV-1290, 2020 WL 8299592 (S.D. Tex. Nov. 9, 2020) .......................... 7, 34

United States ex rel. Guzder v. MKM Engineers, Inc.,
   No. 05-895, 2010 WL 11595351 (S.D. Tex. Jan. 14, 2010) .......................................... 4

Haviland v. Metro. Life Ins. Co.,
  730 F.3d 563 (6th Cir. 2013) ................................................................................. 30, 40

Holmberg v. Armbrecht,
   327 U.S. 392 (1946) ............................................................................................... 27, 28

Hughes Aircraft Co. v. Jacobson,
  525 U.S. 432 (1999) ..................................................................................................... 21

Intel Corp. Inv. Policy Comm. v. Sulyma,
    140 S. Ct. 768 (2020) ............................................................................................ passim

Interfirst Bank of Abilene, N.A. v. Lull Mfg.,
    778 F.2d 228 (5th Cir. 1985) ......................................................................................... 2

Kennedy v. Plan Adm'r for DuPont Sav. & Inv. Plan,
   555 U.S. 285 (2009) ..................................................................................................... 51

Khan v. Am. Intern. Grp, Inc.,
  654 F. Supp. 2d 617 (S.D. Tex. 2009) ......................................................................... 39

Klaas v. Allstate Ins. Co.,
   21 F.4th 759 (11th Cir. 2021) ............................................................................... passim

Ladouceur v. Credit Lyonnais,
   584 F.3d 510 (2d Cir. 2009) ......................................................................................... 46




                                                              iv
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 6 of 61




Lemberg v. Scottsdale Healthcare Corp. Health Plan,
   No. CV-11-00271-PHX-ROS, 2013 WL 12097449 (D. Ariz. Feb. 4,
   2013) ............................................................................................................................ 47

Lockheed Corp. v. Spink,
   517 U.S. 882 (1996) ..................................................................................................... 21

Martin v. Shell Oil Co.,
  198 F.R.D. 580 (D. Conn. 2000) .................................................................................. 47

Martinez v. Schlumberger, Ltd.,
  338 F.3d 407 (5th Cir. 2003) ................................................................................... 5, 21

Martinez v. United States Postal Service,
  No. CIV.A. B-06-186, 2007 WL 1468773 (S.D. Tex. May 18, 2007) .......................... 9

McCall v. Burlington N./Santa Fe Co.,
  61 F. Supp. 2d 563 (N.D. Tex. 1999) .......................................................................... 35

Mick v. Ravenswood Aluminum Corp.,
   178 F.R.D. 90 (S.D.W. Va. 1998) ................................................................................ 47

Nachman Corp. v. Pension Benefit Guar. Corp.,
  446 U.S. 359 (1980) ..................................................................................................... 39

Osberg v. Foot Locker, Inc.,
   138 F. Supp. 3d 517 (S.D.N.Y. 2015).............................................................. 34, 44, 45

Osberg v. Foot Locker, Inc.,
   862 F.3d 198 (2d Cir. 2017) ................................................................................... 41, 45

Pegram v. Herdrich,
   530 U.S. 211 (2000) ........................................................................................... 7, 29, 30

Peters v. Reliance Standard Life Ins. Co.,
   238 F.Supp.3d 905 (S.D. Tex. 2017) ........................................................................... 48

Police & Fire Ret. Sys. of City of Detroit v. IndyMac MBS, Inc.,
   721 F.3d 95 (2d Cir. 2013) ........................................................................................... 11

In re Principal U.S. Prop. Account ERISA Litig.,
    No. 4:10-CV-00198-JEG, 2013 WL 7218827 (S.D. Iowa Sept. 30,
    2013) ............................................................................................................................ 48

Radford v. Gen. Dynamics Corp.,
   151 F.3d 396 (5th Cir. 1998) ................................................................................. 16, 17

                                                                   v
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 7 of 61




Ranke v. Sanofi-Synthelabo Inc.,
   436 F.3d 197 (3d Cir. 2006) ......................................................................................... 17

Rapp v. Henkel of Am.,
   No. 3:18-CV-01656 (JCH), 2019 WL 4509095 (D. Conn. Sept. 18,
   2019) ............................................................................................................................ 18

Rhoades v. Casey,
   196 F.3d 592 (5th Cir. 1999) ....................................................................................... 51

Rinehart v. Lehman Bros. Hold. Inc.,
   817 F.3d 56 (2d Cir. 2016) ........................................................................................... 36

Ritchie v. U.S.,
   451 F.3d 1019 (9th Cir. 2006) ....................................................................................... 3

Robinson v. Gen. Motors Co.,
   No. 4:15-CV-158-Y, 2015 WL 13731154 (N.D. Tex. Oct. 21, 2015) ........................ 48

Ruessler v. Boilermaker-Blacksmith Nat’l Pension Tr. Bd. Of Trustees,
   64 F.4th 951 (8th Cir. 2023) ........................................................................................ 31

Schaefer v. Ark. Med. Soc'y,
   853 F.2d 1487 (8th Cir. 1988) ..................................................................................... 24

In re Southmark Corp.,
    88 F.3d 311 (5th Cir. 1996) ........................................................................................... 9

Spencer v. Cent. States, Se. & Sw. Areas Pension Fund,
   778 F. Supp. 985 (N.D. Ill. 1991) ................................................................................ 47

Sprague v. Gen. Motors Corp.,
   133 F.3d 388 (6th Cir. 1998) ....................................................................................... 47

Swinney v. GMC,
   46 F.3d 512 (6th Cir. 1995) ................................................................................... 34, 35

In re Target Corp. Sec. Litig.,
    275 F. Supp. 3d 1063 (D. Minn. 2017) ........................................................................ 34

In re: Texas E&P Operating, Inc.,
    No. 17-34386-SGJ-7, 2023 WL 3012268 (Bankr. N.D. Tex. Apr. 19,
    2023) ............................................................................................................................ 10

Tootle v. ARINC, Inc.,
   222 F.R.D. 88 (D. Md. 2004) ....................................................................................... 47

                                                                   vi
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 8 of 61




Valley v. Rapides Parish Sch. Bd.,
   118 F.3d 1047 (5th Cir. 1997) ....................................................................................... 1

Varity Corp. v. Howe,
   516 U.S. 489 (1996) .............................................................................................. passim

Vera v. Bush,
   980 F.Supp. 254 (S.D. Tex. 1997) ................................................................................. 9

Vercellino v. Optum Insight, Inc.,
   26 F.4th 464 (8th Cir. 2022) .................................................................................. 34, 41

Weber v. Gainey’s Concrete Prod., Inc.,
  No. 97-31267, 1998 WL 699047 ............................................................................... 2, 3

In re Wells Fargo ERISA 401(k) Litig.,
    331 F. Supp. 3d 868 (D. Minn. 2018) .......................................................................... 34

Statutes

28 U.S.C. § 2072(a) ........................................................................................................... 11

28 U.S.C. § 2072(b) ........................................................................................................... 11

29 U.S.C. § 1002(21) ........................................................................................................... 6

29 U.S.C. § 1056(d)(1) ...................................................................................................... 50

29 U.S.C. § 1109(b) ............................................................................................................. 6

29 U.S.C. § 1113 ........................................................................................................ passim

29 U.S.C. § 1113(1) ........................................................................................................... 16

29 U.S.C. § 1113(2) ........................................................................................................... 20

Other Authorities

26 C.F.R. § 1.414(g)–1(a)(2) ............................................................................................... 8




                                                               vii
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 9 of 61




                    NATURE AND STAGE OF THE PROCEEDING

       This certified class action, filed on April 13, 2016, seeks equitable reformation of

a defined benefit pension plan, based on allegations that in 1989, Defendants

misrepresented the terms of a plan amendment enacted that year. Following successful

motions to dismiss both the original and first amended complaints, the Plaintiffs filed the

operative Second Amended Complaint against the Defendants asserting a single claim

seeking equitable relief to redress an alleged breach of fiduciary duty under the Employee

Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1132(a)(3).1

       Trial began on June 20, 2023. Plaintiffs’ case spanned 10 trial days, and Plaintiffs

rested on July 14, 2023. The Court should now enter judgment in favor of Defendants

because, as set out below, (1) there are several issues on which Plaintiffs have been fully

heard, (2) the Court must find in favor of Defendants on those issues, and (3) Plaintiffs

cannot prevail without rulings in their favor on those issues.

        STATEMENT OF ISSUES TO BE RULED UPON BY THE COURT

       Fed. R. Civ. P. 52(c) provides that “[i]f a party has been fully heard on an issue

during a nonjury trial and the court finds against the party on that issue, the court may

enter judgment against the party on a claim or defense that, under the controlling law, can

be maintained or defeated only with a favorable finding on that issue.” Rule 52 “does not

require that the district court set out [its] findings on all factual questions that arise in a

case.” Valley v. Rapides Parish Sch. Bd., 118 F.3d 1047, 1054 (5th Cir. 1997). Instead, a


1
 Judge Hanen did not permit Defendants to move to dismiss the Second Amended
Complaint. (ECF 78 at 9–10.)
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 10 of 61




court’s “[f]indings [are sufficient to] satisfy Rule 52 if they afford the reviewing court a

clear understanding of the factual basis for the trial court’s decision.” Interfirst Bank of

Abilene, N.A. v. Lull Mfg., 778 F.2d 228, 234 (5th Cir. 1985).

       “A judgment on partial findings may be entered by the court ‘at any time it can

appropriately make a dispositive finding of fact on the evidence.’” Weber v. Gainey’s

Concrete Prod., Inc., No. 97-31267, 1998 WL 699047, at *2 n.2 (quoting Fed. R. Civ. P.

52 advisory committee’s note). In this case, the Court admitted testimony from each of

the named Plaintiff class representatives, several of the putative class members, three

witnesses—Ellen Collier, Karen Salinaro, and Paul McAuliffe—who addressed what BP

America knew in 1989, and BP America’s intentions in designing and adopting the RAP

and in communicating its terms to participants, Defendants’ 30(b)(6) witnesses, the

former President of BP America, the former President of BP Alaska, the former Deputy

Ombudsman, and Plaintiffs’ expert, Lawrence Deutsch. In addition, the Court has

admitted into evidence numerous documents including inter alia, the uniformly

disseminated communication materials from 1989, the analysis BP America (aided by

Kwasha Lipton) considered in 1988–89 as to the anticipated impact of the plan

amendment, numerous SPDs, and several account balance statements for each of the

named Plaintiff class representatives. Plaintiffs have been fully heard on the issues of

what BP America knew, what BP America communicated to its employees (and when it

did so), and what fiduciary conduct occurred.

       “Unlike the standard applicable in judgments as a matter of law, when dismissing

a case pursuant to Rule 52(c), a court is not required to make any special inferences or


                                              2
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 11 of 61




review the facts in the light most favorable to the plaintiff.” Weber, 1998 WL 699047 at

*2 n.2 (citing Sanders v. General Servs. Admin., 707 F.2d 969, 971 (7th Cir. 1983)); see

also Ritchie v. U.S., 451 F.3d 1019, 1023 n.7 (9th Cir. 2006) (“The Supreme Court has

held with respect to Rule 52(c)’s predecessor that the district court need not give the

nonmoving party any favorable inferences.”)).

          Under Rule 52(c), the Court should find in favor of Defendants on the following

issues:

          1) There is no claim based on any alleged 1989 failure to satisfy ERISA’s
             statutory disclosure requirements because that claim was dismissed by Judge
             Hanen in 2019 as barred by the statute of limitations as a matter of law;

          2) Plaintiff’s breach of fiduciary duty claim fails as a matter of law because they
             have failed to sue any 1989 fiduciary;

          3) Plaintiffs’ breach of fiduciary duty claim is barred by ERISA’s statute of
             repose;

          4) Plaintiffs’ claim requires proof of a knowing or intentional misrepresentation,
             and there is no evidence of anyone—let alone either named Defendant—
             making any such misrepresentation;

          5) Evidence Plaintiffs have introduced at trial prevents class-wide resolution of
             their claims; and

          6) The sub-class’s claims are barred by Plaintiff Fujimoto’s release.

                                         ARGUMENT

I.        There Are No Statutory Disclosure Claims At Issue.

          In their proposed conclusions of law, Plaintiffs ask the Court to find that BP

Corporation North America violated ERISA by failing to provide an ERISA § 204(h)

notice “prior to January 1, 1989,” and by “fail[ing] to provide participants with a SPD

[and/or SMM] regarding the 1989 plan amendment and restatement.” (See ECF 428 at


                                                3
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 12 of 61




¶¶ 13, 29–33.) Plaintiffs purport to seek equitable relief under § 502(a)(3) of ERISA, 29

U.S.C. § 1132(a)(3) to redress those violations. (Id. at ¶ 61.)

       As set out in Defendants’ pretrial Memorandum of Law, claims regarding alleged

failure to provide statutorily required disclosures in 1989 were dismissed from this case

by Judge Hanen. (See ECF 423 at 18–19 (citing ECF 78 at 2 (“[G]iv[ing] the Plaintiffs

the most generous calendar, th[o]se claims accrued in the 1988–90 time period. Thus,

they were barred over twenty years ago.”)).) The reasoning is simple; whatever

disclosures were required to comply with applicable law in 1989 either were or were not

made in 1989. A claim alleging they were not made, then, accrued in 1989, the time of

the alleged failure. As Judge Hanen said when he dismissed the claim, “[i]t cannot be

contested that each Plaintiff knew decades ago that they did not receive these

notices/documents.” (Id. at 6.)

       The “law of the case” doctrine “‘posits that when a court decides upon a rule of

law, that decision should continue to govern the same issues in subsequent stages in the

same case,’” absent extraordinary circumstances. See Christianson v. Colt Indus. Oper.

Corp., 486 U.S. 800, 815–17 (1988) (quoting Arizona v. California, 460 U.S. 605, 618

(1983)); see also United States ex rel. Guzder v. MKM Engineers, Inc., No. 05-895, 2010

WL 11595351, at *6, n.4 (S.D. Tex. Jan. 14, 2010). In their case, Plaintiffs failed to offer

evidence of any reason at all, let alone “extraordinary circumstances” to disregard Judge

Hanen’s order. In re Ford Motor Co., 591 F.3d 406, 411 (5th Cir. 2009) (law of the case

applies when a case is transferred between judges; while not barred from reconsidering

the first judge's order, a new judge should not do so “merely because the later judge


                                              4
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 13 of 61




might have decided matters differently.”). To the extent Plaintiffs base their claim for

equitable relief on these alleged statutory disclosure violations, they have been fully

heard on that issue, and the claims already have been dismissed as untimely. The Court

should enter judgment in favor of Defendants on any claim based on violations of

ERISA’s statutory disclosure requirements at the time of the 1989 amendment.

II.     Plaintiffs Cannot Recover For Fiduciary Breach Because They Failed To Sue
        The Fiduciary.

        From the outset of this case, and on several occasions since, Defendants have

asserted that Plaintiffs’ breach of fiduciary duty claim as to the 1989 communications

fails because they have not sued any 1989 fiduciaries. (See ECF 15 at 17–19; ECF 52 at

39–41; ECF 84 at 46; ECF 237 at 41 n.163; ECF 423 at 18.) Plaintiffs have only ever

named two Defendants—the BP Retirement Accumulation Plan (the “Plan”), and BP

Corporation North America, Inc. (“BPCNA”). Notwithstanding Defendants repeatedly

pointing out this flaw, Plaintiffs not only failed to remedy this situation but made clear

that they made a deliberate choice to proceed accordingly.

        In their June 2016 response to Defendants’ initial motion to dismiss, Plaintiffs

argued:

        The Complaint alleged BP communicated to its employees that the conversion
        from the final average pay plan to the cash balance plan would result in retirement
        benefits that were as good or better than those an employee would receive under
        the final average pay plan, and that BP would bear any risk associated with the
        conversion. Similar actions in Varity Corp. v. Howe, were held to be conducted by
        the corporation as a plan administrator, and not as an employer . . . .

        In Martinez v. Schlumberger, Ltd., the Fifth Circuit examined the holding of
        Varity and its evolution amongst other circuits. . . . The Fifth Circuit concluded
        “ . . . that an employer, if it chooses to communicate about the future of a plan


                                              5
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 14 of 61




       participant’s plan benefits, has a fiduciary duty to refrain from
       misrepresentations.” . . . Thus, naming BP as a party with respect to its breach of
       fiduciary duty was proper.

(ECF 21 at pp. 40-42). Similarly, in response to Defendant’s motion to dismiss the First

Amended Complaint, Plaintiffs’ stated:

       Twenty-eight years ago, the BP Defendants (“BP”) made a promise to career
       Sohio Heritage employees that changes it had made to its retirement plan would
       not reduce monetary pension benefits. . . . Congress required candor in employer
       communications to employees about future benefit accruals. It required employers
       and others who make promises to employees to honor those promises.

(ECF 55 at pp. 10, 12.)

       Following Judge Hanen’s grant of leave to file their Second Amended Complaint,

the Plaintiffs again chose to name two Defendants—the Plan and BPCNA. As discussed

below, their decision requires this Court to enter judgment in favor of the Defendants.

       The text of ERISA establishes that neither named Defendant can be deemed a

1989 fiduciary. Initially, the Plan is not capable of meeting the statutory definition of

fiduciary, and cannot be its own fiduciary. See 29 U.S.C. § 1002(21); see also Acosta v.

Pac. Enterprises, 950 F.2d 611, 618 (9th Cir. 1991), as amended on reh'g (Jan. 23, 1992)

(“[A] plan itself cannot be sued for breach of fiduciary duty.”). Similarly, the undisputed

evidence offered by Ms. Lexi Cargill, Defendants’ 30(b)(6) witness, conclusively

establishes that Defendant BPCNA did not exist in 1989. (Cargill Dep. 42:18–43:18,

44:14–16.) By operation of the statute, BPCNA cannot be liable for fiduciary conduct

that occurred in 1989. See 29 U.S.C. § 1109(b) (“No fiduciary shall be liable with respect

to a breach of fiduciary duty under this subchapter if such breach was committed before

he became a fiduciary or after he ceased to be a fiduciary.”); see also Bannistor v.


                                              6
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 15 of 61




Ullman, 287 F.3d 394, 405 (5th Cir. 2002) (holding appellants cannot be liable for

fiduciary breach that occurred when they had no fiduciary duty and assumed their duties

long after loan at issue was implemented.).

       Plaintiffs may argue—as they did at summary judgment (see ECF 251 at 45)—that

BPCNA is the correct defendant, because they seek equitable reformation and it is the

current plan sponsor. Plaintiffs’ argument puts the cart before the horse. While BPCNA

may be necessary to effectuate a remedy, Plaintiffs must first establish a breach of

fiduciary duty occurred. To prove claim for breach of fiduciary duty under ERISA,

Plaintiffs must show “(1) Defendant was a plan fiduciary; (2) Defendant breached its

fiduciary duty; and (3) the breach resulted in harm to the plaintiff.” Grp. 1 Auto., Inc. v.

Aetna Life Ins. Co., No. 4:20-CV-1290, 2020 WL 8299592, at *3 (S.D. Tex. Nov. 9,

2020) (citing Kopp v. Klein, 894 F.3d 214, 219 (5th Cir. 2018)) (emphasis added). This is

because “[i]n every case charging breach of ERISA fiduciary duty . . . the threshold

question is not whether the actions of some person employed to provide services under a

plan adversely affected a plan beneficiary’s interest, but whether that person was acting

as a fiduciary (that is, was performing a fiduciary function) when taking the action

subject to complaint[.]” Pegram v. Herdrich, 530 U.S. 211, 226 (2000). It is not

sufficient for Plaintiffs to establish that BPCNA is the current plan sponsor; they must

show they have sued a 1989 fiduciary.

       The evidence is clear and unrefuted on what entities were involved in amending

the plan in 1989, and communicating that amendment to employees at the time. The Plan

Sponsor and employer of the class members was BP America, Inc. (DX 927.6 (defining


                                              7
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 16 of 61




the “Company” as BP America Inc.); Tr. 6/21 AM at 36:23–24 (Plaintiff Fujimoto

acknowledging RAP statements came from BP America); Tr. 6/21 PM at 2-83:24–2-84:6

(Plaintiff Owen identifying his employer from 1987 to 1999 as BP America); Tr. 6/27 at

87:4–8 (Plaintiff Guenther reading excerpt from Long Brochure encouraging employees

“spend your full career with BP America”). The Plan Administrator (the sole named

fiduciary) was the Vice President of Human Resources for BP America Inc.2 (See DX

927 at 6, 11.) The Ross letter (DX 6), the Short Brochure (DX 247), the slide presentation

(DX 20), and the Long Brochure (DX 257)—the uniform written communications that

form the basis for Plaintiffs’ breach of fiduciary claim—are printed with BP America’s

name and/or insignia affixed to them. The opening account balance letters each stated

“[o]n January 1, 1989 your BP America pension plan was revised . . . .” (See, e.g., DX 6;

DX 77; PX 460 (emphasis added).) Plaintiffs’ expert admitted that the Ross letter—

which announced the RAP amendment to employees and kicked off the communication

campaign—was sent on behalf of BP America. (Tr. 7/13 at 227:9–10,) Yet, Plaintiffs

elected not to name either BP America or its 1989 Vice President of Human Resources as

defendants in this action.

       Notwithstanding that Defendants repeatedly raised this concern since the inception

of the case in 2016, Plaintiffs have remained steadfast in their decision to sue only these



2
  While Plaintiffs have alleged, at various points, that, by referring to a job title rather
than a specifically named person, the plan document did not properly designate a plan
administrator. This is plainly wrong. The controlling regulation specifically provides that
an administrator may be named by reference to the person or persons holding a named
position or group of positions. See 26 C.F.R. § 1.414(g)–1(a)(2).

                                             8
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 17 of 61




Defendants and have never made any attempt to bring additional defendants into this

action. (See ECF 21 at 40–44; ECF 55 at 66–71; ECF 251 at 44–45.) Further, Plaintiffs

have not presented any evidence or argument to this Court to establish a basis for naming

the existing Defendants. Similarly, Plaintiffs have provided no evidence or explanation

for not including BP America as a named defendant even though the company remains in

existence today. As such, Plaintiffs claims must fail based on their failure to name the

actual 1989 fiduciary as a named defendant.

       Defendants assume the Plaintiffs may seek, or this Court may be inclined, to cure

this failure by invoking Fed. R. Civ. P. 15 or 21. Additions of a party under Rules 15 and

21 are governed by the same standard. See Vera v. Bush, 980 F.Supp. 254, 255 (S.D. Tex.

1997) (“[T]he same standard applies for adding new parties under either Rule 15(a) or

Rule 21.”); see also Martinez v. U.S. Postal Serv., No. CIV.A. B-06-186, 2007 WL

1468773, at *1 (S.D. Tex. May 18, 2007) (“The standard that is applied to an amendment

that seeks to add new parties is the same under either Rule 15(a) or Rule 21.”). In

considering whether to permit addition of a party under either rule, a court may typically

consider such factors as undue delay, bad faith or dilatory motive on the part of the

movant; repeated failure to cure deficiencies by amendments previously allowed; undue

prejudice to the opposing party by virtue of allowance of the amendment; and futility of

amendment. See In re Southmark Corp., 88 F.3d 311, 314 (5th Cir. 1996) (citing Foman

v. Davis, 371 U.S. 178, 182 (1962)). In this case, at a minimum, Plaintiffs have

repeatedly failed to cure the deficiency through amendment, despite numerous




                                              9
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 18 of 61




opportunities (including two amended complaints) over more than seven years of

litigation in which to do so. Regardless, any such amendment is futile.

       Under ERISA, it is too late to cure Plaintiffs’ failure to sue the correct defendant.

Although Fed. R. Civ. P. 15(c)(1)(C) provides for relation back to name a new party in

certain circumstances (including some ability to correct a mistake as to the named

defendant), it is inapplicable here. Because § 1113 is a statute of repose, any amendment

to name a new defendant cannot relate back to the original filing. See Fed. Deposit Ins.

Corp. for Colonial Bank v. First Horizon Asset Sec. Inc., 291 F. Supp. 3d 364, 370

(S.D.N.Y. 2018) (holding statute of repose supersedes Rule 15(c)’s relation back

provision because a statute of repose creates “an absolute bar on a defendant’s temporal

liability” with no exceptions) (quoting Cal. Pub. Employees’ Ret. Sys. v. ANZ Sec., Inc.

(“CalPERS”), 582 U.S. 497, 506 (2017)); see also Dusek v. JPMorgan Chase & Co., 832

F.3d 1243, 1248 (11th Cir. 2016) (quoting Stein v. Regions Morgan Keegan Select High

Income Fund, Inc., 821 F.3d 780, 783 (6th Cir. 2016)) (Rules Enabling Act requires

construing procedural rules so as to avoid modifying rights conferred by statute of

repose); In re: Texas E&P Operating, Inc., No. 17-34386-SGJ-7, 2023 WL 3012268, at

*12 (Bankr. N.D. Tex. Apr. 19, 2023) (“Because Rule 15 is a procedural rule, it cannot

abrogate a statute of repose . . . when the time frame under the statute has expired.”).

       While Congress gave the Supreme Court “the power to prescribe general rules of

practice and procedure and rules of evidence for cases in the United States district

courts,” it provided that the Rules of Civil Procedure “shall not abridge, enlarge or

modify any substantive right.” See 28 U.S.C. § 2072(a), (b). The Rules Enabling Act,


                                             10
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 19 of 61




therefore, “forbids any interpretation of Rule 15(c) that would ‘abridge, enlarge or

modify any substantive right,’ and ‘counsel[s] against adventurous application of’ Rule

15(c), or indeed any federal rule.” JRS Partners, GP, 615 F. Supp. At 766 (quoting Ortiz

v. Fibreboard Corp., 527 U.S. 815, 845 (1999)); see D & S Marine Transp., L.L.C. v. S &

K Marine, L.L.C., No. CIV.A. 14-2048, 2015 WL 5838220, at *4 (E.D. La. Oct. 7, 2015)

(citing Miguel v. Country Finding Corp., 309 F.3d 1161, 1165 (9th Cir. 2002) (Rules

Enabling Act prohibits application of Rules of Civil Procedure (including Rule 15(c)) to

alter substantive rights, such as those created by statutes of repose).

       A statute of repose represents “an absolute bar on a defendant’s temporal

liability.” De Vito v. Liquid Holdings Group, Inc., No. CV156969KMJBC, 2018 WL

6891832, at *24 (D.N.J. Dec. 31, 2018) (citing CalPERS, 137 S. Ct. at 2050), and creates

a substantive right to that repose. Dekalb Cnty. Pension Fund v. Transocean Ltd., 817

F.3d 393, 414 (2d Cir. 2016), as amended (Apr. 29, 2016)(“[A]ll statutes of repose create

a substantive right.”). As such, the Rules Enabling Act requires any interpretation of Rule

15’s relation back provisions to avoid infringement on that substantive right. See Police

& Fire Ret. Sys. of City of Detroit v. IndyMac MBS, Inc., 721 F.3d 95, 109 (2d Cir. 2013).

A decision to allow Plaintiffs to bring claims against a new party after the statute of

repose has expired as to that party “would therefore necessarily enlarge or modify a

substantive right and violate the Rules Enabling Act.” Id. Under ERISA and the Rules

Enabling Act, the Court’s ability to exercise its discretion under Fed. R. Civ. P. 15 or

Fed. R. Civ. P. 21 would be futile as a matter of law.




                                              11
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 20 of 61




       The Supreme Court has recognized that ERISA’s remedial scheme, on the whole,

was designed to represent the “careful balancing” of a prompt resolution of claims, with

the public policy interest of encouraging employers to adopt and maintain voluntary

employee benefit plans. Aetna Health Inc. v. Davila, 542 U.S. 200, 208 (2004) (quoting

Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41, 54(1987)). The Supreme Court has also held,

with respect to a plaintiff’s ability to pursue fiduciary breach claims under ERISA’s

remedial scheme, the § 1113 statute of repose effects “a legislative judgment that a

defendant should be free from liability after the legislatively determined period of time.”

Sulyma, 140 S. Ct. at 774 (brackets omitted) (quoting CalPERS, 137 S. Ct. 2042, 2049

(2017)). Plaintiffs filed this suit more than seven years ago. ERISA’s statute of repose is

only six years. It would be contrary to the substantive right to repose, and the careful

balancing act represented by ERISA’s remedial scheme, to allow Plaintiffs to amend their

complaint now to add or name a new defendant.

       That BPCNA is the current plan sponsor does not alleviate the need for the

Plaintiffs to name the 1989 fiduciaries as defendants.3 Plaintiffs have not put forth any

evidence that BPCNA existed in 1989, let alone that it had any fiduciary responsibility to

the Plan or its participants in 1989. Instead, the record evidence establishes that twenty-



3
  That BP Corporation North America is the current plan sponsor is of “no consequence to
fiduciary status.” In re BP p.l.c. Sec. Litig., No. 4:10-CV-4214, 2015 WL 6674576, at *4
(S.D. Tex. Oct. 30, 2015) (quoting In re Dynegy, Inc. ERISA Litig., 309 F. Supp. 2d 861,
867 (S.D. Tex. 2004) (dismissing BP Corporation North America from action alleging
fiduciary breach under ERISA in part because, though it was the plan sponsor named in
the plan documents, “a ‘company cannot be subject to fiduciary liability simply by virtue
of its role as a plan sponsor’”).

                                             12
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 21 of 61




one years later, in 2011, BPCNA (by then the plan sponsor) reviewed the concerns about

the 1989 RAP communications issued by BP America. BPCNA concluded that the

communications, did not make any “promise of what actual benefits under the plan

ultimately would be.” See DX 9. Thus, BPCNA determined, in 2011, that the 1989

communications by the 1989 fiduciary were not a breach of any duty.

       Ultimately, while Plaintiffs have chosen to generically use the term “BP”

throughout this lawsuit, it cannot be a catchall for all BP-affiliated corporate entities that

have existed over the course of the last 34 years. As the record evidence demonstrates,

BP America, Inc. was incorporated in 1974, and acquired all of the outstanding shares of

common stock of Standard Oil of Ohio (“Sohio”) on June 23, 1987. (ECF 419 at 15,

Stipulated Facts ¶¶ 1–2.). Similarly, several other legacy companies—such as Kennecott

and Old Ben Coal Company—were also part of the BP America umbrella of companies

in the late 80’s. (See McAuliffe Dep. at 15:23–16:25, 24:7–23.) Fast forwarding ten (10)

years later, the testimony/evidence reveals that wholly separate companies such as

Amoco Corporation, Atlantic Richfield Corporation and Castrol were acquired well after

the plan amendment at issue in this case. (Cargill Dep. 39:17–40:22 (discussing merger

with Amoco and subsequent acquisition of ARCO; DX 9 (describing BP as an

“amalgamation of many different companies”; mentioning Castol, Amoco, and ARCO);

Tr. 6/21 PM at 2-10:16–23 (Plaintiff Owen describing timing of Amoco merger); Tr. 6/26

at 56:23–57:6 (Plaintiff Guenther describing Heritage Amoco and ARCO co-workers).)

       This case is about a point in time—1989. Indeed, the Contested Issues of Fact

Plaintiffs identified for the Court in the Joint Pretrial Order include “[w]hether BP


                                              13
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 22 of 61




America Inc. was acting as a fiduciary during the 1989 communications campaign,” and

“[w]hether BP breached a fiduciary duty it owed participants during the 1989

communication campaign.” (ECF 419 at 17, Contested Issues of Fact ¶¶ 1, 7.) Plaintiffs

have failed to provide this Court with the requisite evidence to hold the named

Defendants—as opposed to an amorphous “BP”—responsible for the alleged breach of

fiduciary duty of which they complain.4

       In recent argument to the Court, Plaintiffs’ counsel stated:

       But, really, what it comes down to -- and this is my golden rule. If you're
       going to talk to an employee, you're wearing your fiduciary hat if you're telling
       them about plan benefits. There are exceptions out there. And don't get me wrong.
       I recognize there’s exceptions out there. But when you start communicating to that
       employee what their benefit is when you're beyond plan design, you're doing a
       fiduciary responsibility. You're no longer designing a plan and deciding what the
       benefit would be. . . .

       BP wears both hats, and I think you need this in front of you to decide which hat
       they're wearing and what they know, even when they're wearing each hat. You can
       be wearing a plan sponsor hat and know things. That’s what happened in Amara.
       You can know things while you're wearing your plan sponsor hat and then have
       communication issues afterwards when you switch over to your fiduciary -- your
       functional fiduciary hat.

(Tr. 7/12 at 204:12–20; 209:6–14.) Under Plaintiffs’ golden rule, BP America—who was

the employer and plan sponsor in 1989—should have been named in this matter as a




4
  There can be no suggestion that BPCNA had an obligation to invoke Rule 19 in an
attempt to affirmatively join BP America as a defendant. As set out herein, ERISA’s
statute of repose creates a substantive right not to face liability after the period proscribed
by Congress. BPCNA has asserted throughout this case that period ran as to the claim
asserted before this case would be filed. Therefore, it would have been inconsistent with
Rule 11(b) for BPCNA to represent to the Court that joinder of BP America was
appropriate at any stage.

                                              14
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 23 of 61




party defendant. Yet, Plaintiffs made a deliberate decision not to do so, and never sought

to amend that decision. It is fatal to their claim.

       If the Court concludes that it has the discretion to remedy this very serious

problem by allowing a new defendant to be joined, Defendants respectfully request a

mistrial be declared. The most common ground for a mistrial is that an error has occurred

that cannot be cured by any remedial action of the parties or the court. The Defendants

submit that allowing such a drastic change of circumstances during trial would result in

undue prejudice. If BP America is added as a named Defendant, it will not have had any

opportunity to answer the Complaint, assert any unique defenses it may have, develop

evidence on its behalf, etc. The addition of a Defendant during trial will unavoidably

prejudice defense of this action, and present due process issues as the Court attempts to

discharge its role as both finder of fact and adjudicator.

III.   Plaintiffs’ Fiduciary Breach Claim is Untimely Under 29 U.S.C. § 1113.

       Plaintiffs’ only live claim seeks equitable relief based on an allegation that

Defendants breached ERISA’s duty of loyalty in communicating the terms of the 1989

RAP amendment. (See ECF 428 at ¶¶ 48–55.) Specifically, Plaintiffs allege that

Defendants undertook a fiduciary act (communicating to participants about the terms of

their benefits) in a manner that placed the interests of the company above those of

participants by “failing to provide complete and accurate written explanations of the

benefits available to RAP participants.” (Id. at ¶¶ 52–54.) As they did at summary

judgment (see ECF 251 at 45 & n.174), Plaintiffs point to the Supreme Court’s opinion in




                                               15
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 24 of 61




Varity Corp. v. Howe, 516 U.S. 489 (1996), as recognizing the claim they assert here.

(See ECF 428 at ¶ 49.) This, despite the fact that no Defendant undertook any such acts.

       The Fifth Circuit has explicitly held that, where they are based on allegations that

a defendant breached ERISA’s fiduciary duties, claims seeking equitable relief under

§ 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), are governed by ERISA’s limitations

provision, ERISA § 413, 29 U.S.C. § 1113. Radford v. Gen. Dynamics Corp., 151 F.3d

396, 399 (5th Cir. 1998) (“The plain language of § 413 of ERISA indicates that its statute

of limitations would apply to a Varity claim pursuant to § 502(a)(3).”). Plaintiffs’

attempts to invoke other limitations provisions—whether under Texas state law or federal

common law—contradict binding precedent in Radford, and must be rejected.

              a. Plaintiffs’ claim is subject to—and barred by—ERISA’s statute of repose.

       Under § 1113, an ERISA breach of fiduciary duty claim “must be filed within one

of three time periods, each with different triggering events.” Intel Corp. Inv. Policy

Comm. v. Sulyma, 140 S. Ct. 768, 774 (2020). “The first begins when the breach occurs.”

Id.; see also 29 U.S.C. § 1113(1). This period is a statute of repose, effecting “a

legislative judgment that a defendant should be free from liability after the legislatively

determined period of time.” Sulyma, 140 S. Ct. at 774 (brackets omitted) (quoting

CalPERS, 137 S. Ct. 2042, 2049 (2017)).

       The alleged misrepresentations at issue in this case are contained in the uniformly

disseminated communications from the 1989 “Communications Campaign.” Even if

Defendants engaged in the acts being mentioned, the breach, if any, occurred in 1989.

ERISA’s statute of repose, then, “establish[ed] an outside limit of six years in which to


                                             16
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 25 of 61




file suit . . . [,]” running from the date of the breach, not the date of discovery. See

Radford, 151 F.3d at 400 (measuring six-year period from last date of violation, without

regard to when plaintiff discovered alleged violation); see Gosselink v. Am. Tel. & Tel.,

Inc., No. CIV.A. H-97-3854, 1999 WL 33737341, at *11 (S.D. Tex. Aug. 4, 1999)

(ERISA’s statute of repose runs six years from date of violation; rejecting argument that

period can be tolled by allegation of on-going breach). ERISA’s statute of repose reflects

a legislative judgment to protect plan fiduciaries from lingering liability, see Sulyma, 140

S. Ct. at 774 (quoting CalPERS, 137 S. Ct. 2042), and “abolishes the cause of action” if

not timely brought. Burlington N. & Santa Fe Ry. Co. v. Skinner Tank Co., 419 F.3d 355,

363 (5th Cir. 2005) (citing Servicios-Expoarma, C.A. v. Indus. Mar. Carriers, 135 F.3d

984, 989 (5th Cir. 1998)).

       Plaintiffs’ claims are barred, because their claims are subject to ERISA’s six-year

statute of repose, and were not brought within six years of the alleged fiduciary breach.

Plaintiffs challenge fiduciary conduct that occurred in 1989. (See generally ECF 82

(alleging that BP Corporation North America Inc. misrepresented the RAP through

written materials and in-person meetings in 1989); ECF 427 at ¶¶ 80–82, 89–93; 95

(describing communication campaign as including Ross Letter, Short Brochure,

employee meeting slides and script, and Long Brochure); DX. 39 (Guenther Opening

Account Balance letter); DX 77 (Fujimoto Opening Account Balance letter; PX 460

(Owen Opening Account Balance letter).) The last action constituting part of the alleged

breach occurred in 1989. See Ranke v. Sanofi-Synthelabo Inc., 436 F.3d 197, 202–03 (3d

Cir. 2006) (finding that, in an ERISA breach of fiduciary case for purported


                                              17
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 26 of 61




misrepresentations, the limitations ran as of the date of the misrepresentation); Cf. Rapp

v. Henkel of Am., No. 3:18-CV-01656 (JCH), 2019 WL 4509095, at *5 (D. Conn. Sept.

18, 2019) (quoting Novella v. Westchester County, 661 F.3d 128, 146 (2d Cir. 2011)

(declining to allow a continuing violation theory when “plaintiff’s claim are based on a

single decision that results in lasting negative effects.”). Plaintiffs filed suit 21 years too

late.

        Throughout this case, and in their pretrial submissions, Plaintiffs suggest that the

six-year time period to initiate this suit did not start until September 2014, when BP

Corporation North America Inc. told them it was not going to amend the RAP again to

enhance their benefit. (See ECF 419 at 10.) But—as with any settlor function (i.e.,

establishing, amending, or terminating a plan)—BP Corporation North America’s

decision not to amend the RAP in response to employee concerns was not fiduciary

conduct. Thus, it has no bearing on the time Plaintiffs had to bring this claim. See Klaas

v. Allstate Ins. Co., 21 F.4th 759, 773 (11th Cir. 2021).

        While the Ombudsman process (and earlier employee fairness complaints leading

to BP Corporation North America’s 2011 decision and the Dorazil letter) did present an

opportunity for BP Corporation North America to enhance RAP benefits for Heritage

Sohio employees, BP Corporation North America was under no fiduciary obligation to do

so. The suggestion that it could have done so has nothing to do with curing fiduciary

breaches.

        Plaintiffs likewise are wrong to suggest that they could not seek “redress” under

29 U.S.C. § 1132(a)(3) for alleged fiduciary breaches until the exact amount of their


                                               18
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 27 of 61




alleged loss was known. If their claims had any merit, the statute would have permitted

them, in 1989, to sue to “enjoin” violations of ERISA and to obtain other appropriate

equitable relief, including the very reformation claim they now bring. All of Plaintiffs’

claims accrued in 1989 and they are now time barred.

        The court’s analysis in Klaas v. Allstate Insurance Co., is instructive.5 There, in

2013, Allstate amended its benefit plan and communicated to participants that it would

cease paying life insurance premiums for employees who retired since 1990. Id. at 765.

Plan participants sued Allstate for representing that they would retain no-cost life

insurance coverage until their death. Id. at 765–66. The court ruled for Allstate, finding

Plaintiffs’ claims were barred by ERISA’s statute of repose. Id. at 771–73. While some

participants pointed to written and oral communications going back to the 1980s

supposedly promising lifetime coverage, the Court found that the most recent alleged

representation was made in 2006, and the claim—which was not filed until 2013—was

untimely. Id. at 772. Here, the last misrepresentation alleged by Plaintiffs was in 1989,

and the statute of repose ran six years later.

        Plaintiffs had until 1995 to sue. Plaintiffs filed suit April 13, 2016, 21 years too

late.




5
 Klaas v. Allstate Ins. Co., 21 F.4th 759 (11th Cir. 2021), cert. denied, 214 L. Ed. 2d 78,
143 S. Ct. 233 (2022), and cert. denied sub nom. Turner v. Allstate Ins. Co., 214 L. Ed.
2d 14, 143 S. Ct. 85 (2022).

                                                 19
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 28 of 61




              b. Plaintiffs’ “actual knowledge” of the claim asserted does not extend
                 their time to file suit.

       Turning back to the text of § 1113, “[t]he second period, which accelerates the

filing deadline, begins when the plaintiff gains ‘actual knowledge’ of the breach.”

Sulyma, 140 S. Ct. at 774; see also 29 U.S.C. § 1113(2). The plaintiff must file suit

“within three years of ‘the earliest date on which the plaintiff had actual knowledge of the

breach or violation.’” Sulyma, 140 S. Ct. at 774 (quoting 29 U.S.C. § 1113(2)). Notably,

this does not require—as Plaintiffs seem to suggest—knowledge of the exact amount of

harm claimed, or of the specific cause of action to be asserted. This statute of limitations

“encourage[s] plaintiffs to pursue diligent prosecution of known claims.” Id. (quoting

California Pub. Employees’ Ret. Sys., 137 S. Ct. at 2049).

       In their proposed conclusions of law, Plaintiffs suggest that their claim is timely,

absent evidence they had actual knowledge of it more than three years before filing suit.

(See ECF 428 at ¶¶ 107–08.) But, by the text of the statute, § 1113(2) applies to shorten

the six year period to file suit within ERISA’s statute of repose; it does not provide a

separate window to sue after a plaintiff obtains “actual knowledge” of his claim. See 29

U.S.C. § 1113 (providing claims may be initiated within the earlier of six years after the

alleged breach, or three years of the date plaintiff had actual knowledge). Thus, Plaintiffs

cannot manufacture a timely claim by claiming ignorance of the facts until April 2013.

       Klaas is again instructive. There, the court rejected Plaintiffs’ claims that they

could not have known of any alleged misrepresentation—such that their claims did not

accrue—until Allstate’s 2013 letter announcing the termination of their benefit. Klaas, 21



                                             20
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 29 of 61




F.4th at 773. The Court rejected this argument because the decision reflected in that 2013

letter (i.e., the termination of a benefit) was a non-fiduciary, settlor action. Id. As such,

the date of that announcement could not give rise to a timely claim for breach of fiduciary

duty. Id.

       The same result should follow here. Both Rick Dorazil’s 2011 communication

(DX 9), and John Minge’s 2014 letter (PX 169), communicated that BP had decided not

to amend the RAP to enhance benefits for heritage Sohio participants. Under the law, a

decision not to amend a pension plan is not a fiduciary act; it is a plan sponsor, settlor act

to which fiduciary responsibility does not attach. Hughes Aircraft Co. v. Jacobson, 525

U.S. 432, 444 (1999) (“ERISA’s fiduciary duty requirement simply is not implicated

where [a Plan’s settlor] makes a decision regarding the form or structure of the Plan such

as who is entitled to receive Plan benefits and in what amounts, or how such benefits are

calculated.”); Lockheed Corp. v. Spink, 517 U.S. 882, 891 (1996) (internal citation

omitted) (“the act of amending a pension plan does not trigger ERISA's fiduciary

provisions”); Martinez v. Schlumberger, Ltd., 338 F.3d 407, 411 (5th Cir. 2003) (internal

citation omitted) (“Because ERISA’s functional definition of a fiduciary does not include

designing a plan, fiduciary duties do not attach to an employer when it acts in this

capacity.”); Corcoran v. Bell Atlantic Corp., 159 F.3d 1350 (3d Cir. 1998) (holding the

selection of interest mortality assumptions in connection with cash balance formula was

“a design function and nonfiduciary in light of Lockheed.”). These letters cannot be the

basis for the claim Plaintiffs are asserting, and they are irrelevant in determining whether

Plaintiffs’ claims were timely.


                                              21
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 30 of 61




       In fact, to the extent actual knowledge is considered, the evidence establishes that

the class representatives had actual knowledge of their claims more than three years

before filing suit. Mr. Fujimoto testified that he was aware, throughout his employment,

that changes in interest rates would affect his benefits under the RAP, that lower rates

would mean his benefit grew less, and that he was aware interest rates varied over time.

(Tr. 6/21/2023 at 35:4–12.) He also testified that he received and read statements about

his account throughout his employment. (Tr. 6/21/2023 at 35:13–37:10.)

       Mr. Owen testified that he understood the final average pay formula was going

away as a result of the 1989 amendment, and that his benefit was going to be calculated

under the cash balance formula. (Tr. 6/21/2023 at 68:13–21; 70:2–6 ; 70:16–22; 2-21:14–

2-22:6.) He also testified to checking the math on his RAP statements on an ongoing

basis, and to having run comparison calculations using formulas provided by Amoco and

ARCO heritage employees in 2003 or 2004, and developing at least a suspicion that his

RAP benefit was going to be lower than his ARP benefit. (Tr. 6/21/2023 at 2-5:16–2-

10:12; 2-28:2–22.)

       Mr. Guenther testified that he tracked the continued growth in his RAP account on

a monthly basis for at least 20 years before filing suit, received several estimates of his

benefit under the Plan, and admitted to making numerous complaints to BP in 2011 and

2012—each more than three years before this suit was filed. (Tr. 6/27/2023 at 17:7–18:2;

23:1–23:3; 46:18–50:9; 97:3–99:21.)

       Statutes of limitation and repose exist to provide certainty to those taking actions

subject to a statutory scheme and provide closure to the parties involved. Enforcing the


                                             22
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 31 of 61




statute of limitations and repose here is entirely consistent with ERISA’s text and

Congress’ stated intent to encourage employers to provide benefits to employees and

ensure consistent standards. See Varity Corp., 516 U.S. at 497 (in enacting ERISA,

Congress “desire[d] not to create a system that is so complex that administrative costs, or

litigation expenses, unduly discourage employers from offering welfare benefit plans in

the first place”).

        Because Plaintiffs filed suit in 2016 regarding fiduciary conduct that occurred in

1989, it is ultimately irrelevant when Plaintiffs had actual knowledge of their claim,

because ERISA’s six-year statute of repose expired in 1995, whether or not Plaintiffs had

knowledge of their claims. Still, if their actual knowledge is considered, it is clear

Plaintiffs each had knowledge of their claim more than three years before they brought

suit.

               c. There is no evidence of fraud or concealment.

        The third period specified under § 1113—and the only one that provides for any

extension beyond six years from the alleged breach—only “applies ‘in the case of fraud

or concealment.’” Sulyma, 140 S. Ct. at 774 (quoting 29 U.S.C. § 1113). The period

“begins when the plaintiff discovers the alleged breach,” and Plaintiff must file the action

within six years of “the date of discovery.” Id. (quoting 29 U.S.C. § 1113).

        The fraud or concealment exception to ERISA’s statute of repose, however,

requires Plaintiffs to show “(1) that defendants engaged in a course of conduct designed

to conceal evidence of their alleged wrongdoing and that (2) [Plaintiffs] were not on

actual or constructive notice of that evidence, despite (3) their exercise of due diligence.”


                                              23
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 32 of 61




Schaefer v. Ark. Med. Soc'y, 853 F.2d 1487, 1491–92 (8th Cir. 1988); see also Chavez v.

Sumner, No. 10-0313, 2012 WL 13059711, at *3 (S.D. Tex. 2012), R&R adopted at 2012

WL 13059726 (S.D. Tex. 2012) (courts require “affirmative conduct designed to conceal

a breach” for the fraud or concealment exception to apply); Gosselink v. Am. Tel. & Tel.,

Inc., No. 97-3854, 1999 WL 33737341, at *11–13 (S.D. Tex. 1999) (a plaintiff must

establish “affirmative steps to conceal any alleged fiduciary breaches”).

       Even if Plaintiffs were able to establish that these Defendants concealed facts

about the RAP in 1989, no good faith basis exists to contend their claims are timely.

Plaintiffs’ Second Amended Complaint does not allege any fraudulent statement or act of

concealment after 1989 and concedes that “a proper SPD would have informed

employees of the risk of future pension shortfalls.” (ECF No. 82 at ¶ 46.) To have been

timely brought in April 2016, Plaintiffs would need to be able to show not just that BP

Corporation North America misrepresented the terms of the RAP in 1989 (which it could

not because it did not exist), but also that it subsequently took affirmative steps for

twenty-one years—until at least April 2010—to prevent Plaintiffs from discovering the

true impact of the 1989 amendment. There is no evidence of any such cover-up.

       Instead, the evidence demonstrates that, in 1991 (and on many subsequent

occasions), BP America issued an SPD, which described the RAP formula and provided

an example of “How Your Benefit Grows,” with the following specific disclaimer: “Keep

in mind, this example is based on certain assumptions about the future. Your actual

account balance will depend on actual changes in interest rates, the Social Security wage

base and your eligible compensation.” (See DX 19.8.) There is no claim in the case that


                                              24
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 33 of 61




the 1991 SPD—or any subsequently issued SPD—misrepresented the terms of the RAP,

or somehow perpetuated the alleged “promise” of equal or greater benefits. Mr. Deutsch

acknowledged that, outside of the grandfathered population, none of the SPDs issued in

1991 or after made any reference to comparing benefits to the ARP when determining

benefits under the RAP. (Tr. 7/13 at 201:25–202:13, 203:8–12.) Instead, the SPDs fairly

and accurately described what the RAP formula provides. The SPDs cannot be said to

have “promised” anything more.

       In addition, all participants received RAP account statements from the RAP’s

fiduciaries showing their account balances and the interest rates used in determining

pension accruals each year. Plaintiffs Fujimoto, Guenther, and Owen (as well as potential

class member Sarah Fujimoto) each testified that they received those statements. (Tr.

6/21/2023 at 35:20–37:10; 40:11–41:19; Tr. 6/27/2023 at 108:13–111:11; Tr. 6/21/2023

at 2-22:7–10; 2-65:7–2-73:20); Tr. 6/20/2023 at 93:4–14.) Many exemplars are in

evidence. (DX 40; DX 78; DX 79; DX 259; DX 260; DX 261; DX 262; DX 263; DX

264; DX 265; DX 266; DX 267; DX 268; DX 270.)

       The evidence presented to date establishes that the 1989 communications were

wholly consistent with BP America’s and the then-RAP fiduciaries’ knowledge and

intent in 1989, and were supported by detailed analysis performed by an expert actuarial

firm retained for that specific purpose. Participants received detailed information about

how the amended formula would work, explicit disclosure of the assumptions used in the

example calculations provided during the rollout, and affirmative language stating that

their actual benefit entitlement would be the product of the new formula, as influenced by


                                            25
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 34 of 61




actual interest rates, changes in actual compensation, age at retirement, and the payment

form the participant elected (among other things). There is nothing to support a claim that

BP America knowingly or intentionally misrepresented the terms of the amendment in

1989, let alone that BP Corporation North America (the Defendant here) did so. More to

the point, however, even if there were some misrepresentation in 1989, Plaintiffs failed to

offer any evidence establishing affirmative steps taken to conceal any misrepresentation

made in 1989.

       Rather, the evidence and testimony demonstrates that, once the RAP amendment

was made, the RAP fiduciaries repeatedly and systematically communicated to

participants—including Plaintiffs—that their benefits were to be determined solely with

reference to the RAP formula, without any comparison to the prior pension or pension

formula. This evidence of repeated disclosures made to participants in the decades

following 19896 defeats any claim of fraudulent concealment. See Adams v. The Brink's

Co., 420 F. Supp. 2d 523, 553 (W.D. Va. 2006), aff'd sub nom. Adams v. Brink's Co., 261

F. App'x 583 (4th Cir. 2008) (“Fraud or concealment” exception to ERISA's six-year

statute of limitations did not apply to breach of fiduciary duty claims because, after

alleged misrepresentations regarding benefit calculations under post-merger pension plan,

employees received accurate information, even if they failed to read it); see also Klaas,


6
  Plaintiffs also introduced a 1999 document that affirmatively stated that, for employees
who stayed at a company their entire career, a final average pay plan was typically
preferable to a cash balance plan. (See PX 214.) This statement, along with the
affirmative descriptions of benefits in SPDs and account statements, is wholly
inconsistent with the claim that any BP entity affirmatively concealed the impact of the
RAP amendment from participants.

                                             26
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 35 of 61




21 F.4th at 773 (accurate description of at-issue benefit in 2007 SPD corrected any

misrepresentation in alleged inaccurate 2006 communication, such that limitations

expired six years from SPD and claim was untimely when brought).

       Plaintiffs had accurate information about how the RAP worked in 1989. However,

even if a misrepresentation occurred then, the Plaintiffs have never made any claim that

any of the RAP SPDs (including the one distributed in 1991) misled them about the

benefit they would receive. Plaintiffs received periodic account statements every year

from the RAP fiduciaries, and—beginning with a move to an on-line benefits system in

2000—had real-time information about the growth of their benefit. There is no basis to

find BP Corporation North America, nor any other entity, was engaged in fraud or

concealment of a breach of fiduciary duty alleged to have occurred in 1989, and (as such)

no basis to provide Plaintiffs relief from ERISA’s statute of repose.

              d. ERISA’s statute of repose is not subject to equitable tolling.

       In an apparent attempt to avoid the application of ERISA’s statute of repose, in

both their proposed conclusions of law (ECF 428 at ¶¶ 115–16) and memorandum of law

(ECF 429 at 24–25), Plaintiffs assert that Holmberg v. Armbrecht, 327 U.S. 392 (1946)

counsels in favor of finding any limitations period in this action is subject to the equitable

doctrine of laches. Holmberg itself defeats Plaintiffs’ argument. There, the Court held

that “[i]f Congress explicitly puts a limit upon the time for enforcing a right which it

created, there is an end of the matter. The Congressional statute of limitation is

definitive.” Id at 395. Because, as discussed above, the Fifth Circuit has held that a Varity

claim—like the one asserted here—asserts a breach of fiduciary duty and is subject to


                                             27
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 36 of 61




ERISA’s statute of repose, “there is an end of the matter.” That statute of repose, and not

the doctrine of laches, governs Plaintiffs claims.

       Further, while Plaintiffs describe Holmberg, as the opinion does, as basing its rule

on the doctrine of laches, the case in fact discusses the doctrine of equitable tolling. See

U.S. ex rel Erskine v. Baker, 213 F.3d 638 at n.4 (5th Cir. 2000) (Holmberg “stated that

the doctrine of equitable tolling . . . ‘is read into every federal statute of limitations,’” but

is inapplicable where Congress has accounted for that doctrine by writing protecting

against fraud into the limitations provision). Subsequent Supreme Court precedent

clarified that equitable tolling does not apply to statutes of repose—including ERISA’s.

See California Pub. Employees' Ret. Sys. v. ANZ Sec., Inc., 582 U.S. 497, 507 (2017)

(where Congress has evinced legislative intent by enacting statute of repose, courts are

powerless to disturb that through equitable tolling).

       Regardless, even if Holmberg could apply—and it cannot—it would not eliminate

any limitations provision, as Plaintiffs suggest. Instead, where Holmberg applies, the rule

says “where a plaintiff has been injured by fraud and ‘remains in ignorance of it without

any fault or want of diligence or care on his part, the bar of the statute does not begin to

run until the fraud is discovered.” See Holmberg, 327 U.S. at 397. In that regard, it

operates much the same way as the “fraud or concealment” exception contained in

ERISA. Plaintiffs’ cannot maintain a timely claim by stating they did not read the

numerous disclosures the RAP fiduciaries sent describing RAP benefits after 1989.




                                               28
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 37 of 61




IV.      The Evidence Does Not Establish A Knowing or Intentional Misrepresentation.

                a. Plaintiffs Have Not Met Their Burden of Proof.

         Plaintiffs have characterized their sole remaining claim as one arising under Varity

Corp. v. Howe, 516 U.S. 489 (1996),7 in which the Court said that 29 U.S.C. § 1132(a)(3)

allows a claim for equitable relief based on certain types of misleading fiduciary

statements about employee benefits. See Varity, 516 U.S. at 515 (affirming decision that

plaintiffs’ claims arose under § 502(a)(3)). There are two broad requirements of a Varity

claim: fiduciary conduct and intentionally and affirmatively misrepresenting details of

benefits to employees. See id.

         As for the first element of a Varity claim, the Supreme Court has explained that

not every action taken by an ERISA fiduciary is undertaken in a fiduciary capacity.

Pegram v. Herdrich, 530 U.S. 211, 226 (2000). In the context of an ERISA plan, it is

completely appropriate for an employer to act in furtherance of its business interests

when undertaking actions in a non-fiduciary capacity. Id. (using the example that an

employer does not breach fiduciary duties by modifying the terms of a plan, even if the

modification provides “less generous benefits”). Fiduciary duties include: (i) proper

management, administration, and investment of plan assets; (ii) maintenance of proper

records; (iii) the disclosure of specific information; and (iv) the avoidance of conflicts of

interest. Schied v. Dynegy, Inc. (In re Dynegy, Inc. ERISA Litig.), 309 F. Supp. 2d 861,

871–72 (S.D. Tex. 2004) (quoting Laborers National Pension Fund v. Northern Trust




7
    ECF 251 at 45 & n.174.

                                              29
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 38 of 61




Quantitative Advisors, Inc., 173 F.3d 313, 317 (5th Cir.)). Thus “[i]In every case

charging breach of ERISA fiduciary duty, then, the threshold question is . . . whether [a]

person was acting as a fiduciary (that is, was performing a fiduciary function) when

taking the action subject to complaint.” Pegram, 530 U.S. at 226.

       As to the second element of a Varity claim, in considering whether a fiduciary has

breached its fiduciary duty by making knowingly misleading communications to

participants, courts have identified three ways in which such a breach occurs: (1) where a

participant asks a plan provider about their benefits and receives a misleading or

inaccurate answer, (2) a plan provider on its own initiative provides misleading or

inaccurate information about the future of the plan, or (3) ERISA or its implementing

regulations required the employer to make a disclosure and the employer failed to do so.

See Haviland v. Metro. Life Ins. Co., 730 F.3d 563, 572 (6th Cir. 2013). As discussed

above, the first and third of these situations are not at issue in this case.

       What’s left is the second type of statement. Importantly, in certifying this case to

proceed as a class action, the Court characterized the claims at issue as turning on

communications prepared by BP America and the RAP fiduciaries and “uniformly

disseminated to all Sohio heritage plan participants.” (ECF 267 at 12; see also id. at 14

(Plaintiffs’ claims are based on “oral and written uniformly disseminated

communications”), 20 (“[T]he harm alleged here flows from company-wide

representations made to Sohio heritage plan participants.”).) Thus, Plaintiffs must show

that uniformly disseminated communications provided knowingly misleading or

knowingly inaccurate information to participants about the future of their plan.


                                               30
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 39 of 61




       Throughout this lawsuit, and at trial, Plaintiffs have attempted to meet their burden

by pointing to isolated statements contained in various of the 1989 communications, and

characterized them, without any context, as a promise that the RAP would pay benefits to

all participants “as good or better” than what they would have received under the RAP.

The uniformly distributed communications introduced in this case contained no such

promise, and neither the class representatives nor the putative class members were able to

point to any such statement during their testimony. Further, the law does not support

Plaintiffs’ attempts to challenge individual sentences as amounting to fiduciary breach.

Instead, courts look to the totality of the circumstances, and evaluate a fiduciary’s

communications based on the context in which they were made. See Ruessler v.

Boilermaker-Blacksmith Nat’l Pension Tr. Bd. Of Trustees, 64 F.4th 951, 962 (8th Cir.

2023) (finding no fiduciary breach because, although certain plan communication omitted

material information, that information was contained in other documents sent to

participants).

       While Plaintiffs contend that certain, isolated statements left them with the

impression that benefits could never be lower under the RAP than they would have been

under the ARP—or that they were, to use Mr. Guenther’s words, “good to go” (Tr.

6/26/2023 at 44:20–45:2; Tr. 6/27/23 at 100:9–101:1)—the actual information presented

in the uniformly disseminated communications flatly contradicts that conclusion. As the

Court has seen, BP America and the RAP fiduciaries showed employees at the rollout

meetings a chart demonstrating that a RAP plan participant could receive less benefits

under the RAP than the ARP. (DX 236 at 64.)


                                             31
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 40 of 61




       As each plaintiff admitted, the materials issued in 1989 made clear that the RAP

“grandfathered” only those over age 50. (Tr. 6/21 AM at 27:8–19, 78:21–79:12; Tr. 6/21

PM at 2-30:22–2-31:9, 2-37:20–2-38:9; Tr. 6/27 at 69:14–23.) That is, that it guaranteed

only to those aged 50 and older that they would get the higher of the old and new benefit

formulas on retirement. The necessary implication of this is that those under 50 had no

such assurance.

       Were that not clear enough, the FAQ section of the Long Brochure stated:




(DX 6 at 20 (highlighting added).) The Long Brochure also told employees they would

each soon receive an individualized Opening Account statement. Those statements

illustrated how the RAP formula worked, and how benefits might grow over time, based

on certain assumptions. Significantly, the letter included the following language

explicitly advising that benefits were variable and based on a number of factors:




                                            32
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 41 of 61




(See, e.g., DX 39 at 2.)

         Likewise, the evidence contradicts the Plaintiffs assertion that the 1989

communications “promoted the RAP only in a positive light.”8 BP America and the RAP

fiduciaries told participants that (1) there was a possibility some participants could

receive lower benefits under the RAP than they would have under the ARP, (2) the

projections provided in the communications materials were for “illustrative purposes

only” (i.e., a demonstration of how the new formula worked, not any kind of promise),

and (3) a participant’s benefit under the RAP would ultimately be impacted by his or her

actual pay, age at retirement, Social Security wage base, level of future interest rates, and

the payment option selected at retirement.

         Viewed in its entirety, the package of communications the RAP fiduciaries issued

precludes any finding that the 1989 RAP administrator or BP America, let alone BP

Corporation North America, misrepresented the RAP in 1989, or somehow left Plaintiffs

with the impression that their RAP benefits could never be lower than their ARP benefits.

Instead, the evidence shows that the RAP fiduciaries carefully and meticulously

communicated accurate and truthful descriptions of the plan change, based on what they



8
    ECF 419 at 7.

                                              33
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 42 of 61




knew at the time, and provided accurate snapshot examples of how the new formula

worked. That there were some elements of the communication campaign that did not

contain all of the details of the new formula is irrelevant—the campaign as a whole gave

participants an accurate and complete description of all material elements of the RAP.

       A fiduciary has a duty to speak truthfully and refrain from misrepresentations.

Vercellino v. Optum Insight, Inc., 26 F.4th 464, 469 (8th Cir. 2022) (no violation of

fiduciary duty when information the beneficiary said ought to have been disclosed was in

the plan documents, and evidence did not show any false or misleading statements).

Importantly, whether a fiduciary has satisfied this duty is evaluated “under the

circumstances then prevailing” and not with the benefit of hindsight. 29 U.S.C. § 1104;

see Grp. 1 Auto., 2020 WL 8299592, at *3. “A court should not find that a fiduciary acted

imprudently . . . merely because, with the benefit of hindsight, a different decision might

have turned out better.”); Osberg v. Foot Locker, Inc., 138 F. Supp. 3d 517, 552–53

(S.D.N.Y. 2015) (citing DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 412, 424 (4th Cir.

2007)); see In re Wells Fargo ERISA 401(k) Litig., 331 F. Supp. 3d 868, 875 n.1 (D.

Minn. 2018) (discussing In re Target Corp. Sec. Litig., 275 F. Supp. 3d 1063, 1089 (D.

Minn. 2017)) (“[A] fiduciary’s decision should not be deemed dis-loyal just because it

turns out to be a poor decision in hindsight.”). Said differently, courts do not judge

fiduciaries based on hindsight and do not impose on fiduciaries “a duty of clairvoyance.”

Swinney v. GMC, 46 F.3d 512, 520 (6th Cir. 1995).

       The undisputed evidence established that statements that the RAP was designed to

produce benefits comparable to, and in most cases better than, the old formula were


                                             34
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 43 of 61




supported by thorough analysis, and repeated revisions of the RAP formula specifically

aimed at achieving that result. Plaintiffs’ expert admitted that “comparable” does not

have to be “100 percent,” and that there is a little “play” in what is “comparable.” (Tr.

7/13 at 74:19–75:4.) Mr. Deutsch further testified what constitutes “comparable” is a

“judgment call” with “no solid line,” (Tr. 7/13 at 70:3–14, 71:25–72:6, 88:4–12), and

there is no evidence that BP America judged the RAP to be anything other than

comparable to the ARP at the time of the 1989 communications. Even using his

definition of comparable, Mr. Deutsch testified BP “would not have known in 1989” that

interest rates would drop and other factors would change such that benefits under the

RAP would wind up not being comparable to benefits under the ARP. (Tr. 7/13 at

174:24–175:8.)

       “An employer is not liable for breach of fiduciary duty under [ERISA] if the

statements were made in good faith and the statements indicated the employer’s actual

intent at the time.” Swinney, 46 F.3d at 520. “To be actionable, the statement must be an

affirmative misrepresentation of current facts regarding future plan benefits

. . . [S]tatements that accurately indicate the employer’s intent at the time are not material

misrepresentations leading to a breach of fiduciary duty under ERISA.” McCall v.

Burlington N./Santa Fe Co., 61 F. Supp. 2d 563, 569 (N.D. Tex. 1999) (finding that the

fiduciary’s statement regarding future plans with better benefits was accurate when made

and thus was not a misrepresentation); see Barnes v. Lacy, 927 F.2d 539, 544 (11th Cir.

1991) (“We fail to see how a fiduciary could be held liable for making a good faith,

truthful statement solely because the statement might be subject to misunderstanding. The


                                             35
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 44 of 61




district court, in so holding, placed an unreasonable burden upon [the Employer] to

predict future, unintended events.”).

       Fundamentally, Plaintiffs say Defendants should be liable because, over the last 30

years, circumstances changed, and things did not ultimately work out as BP America had

intended and projected in 1989. This is an impermissible hindsight attack inconsistent

with basic ERISA fiduciary duty law and the facts of this case. Fiduciaries are not judged

in hindsight. In re BP P.L.C. Sec. Litig., 2017 WL 914995, at *6 (S.D. Tex. Mar. 8,

2017); Rinehart v. Lehman Bros. Hold. Inc., 817 F.3d 56, 64 (2d Cir. 2016). BP America

did not (and could not) know the world economy, and particularly interest rates, would

change dramatically over time.

       As set out in Defendants’ brief in response to the Court’s questions regarding cost

(ECF 447), Paul McAuliffe, Karen Salinaro, and Ellen Collier—the witnesses involved

in the 1989 plan amendment and communications who testified about what BP America

did in designing the RAP, and what the RAP fiduciaries knew when they communicated

the RAP to participants—each testified that the amendment was not a cost-cutting

exercise, that BP America intended to design a competitive benefit comparable to (and,

for most employees, better than) the old formula, and that the analysis done at the time

suggested to the relevant decisionmakers that BP America believed it had achieved those

goals. Mr. Deutsch testified that, in his experience, it was reasonable for BP America to

rely on Kwasha Lipton to perform data analyses in the RAP design process, and that BP

America’s reliance on Kwasha Lipton for that work was “typical.” (Tr. 7/13 at 178:25–

179:10.) There is no basis in the record to conclude that any isolated statement in the


                                            36
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 45 of 61




1989 communications (let alone the statements, viewed in totality) was knowingly or

intentionally misleading.

       In addition, the law is clear that a misrepresentation must be intentional to be an

actionable breach of fiduciary duty. See Varity, 516 U.S. at 504 (emphasis added) (“To

participate knowingly and significantly in deceiving a plan's beneficiaries in order to save

the employer money at the beneficiaries' expense is not to act ‘solely in the interest of the

participants and beneficiaries.’”); Browdy v. Hartford Life & Accident Ins. Co., 630 F.

App’x 278, 284 (5th Cir. 2015) (citing Hobbs v. Baker Hughes Oilfield Operations, Inc.,

294 F. App’x 156, 158 (5th Cir. 2008)) (mere negligence in communication is not enough

to establish breach of duty of loyalty). There is no evidence in this case of any intentional

misrepresentation.

              b. Plaintiffs’ attempts to claim omissions in the 1989 communications are
                 based on obligations the law did not create.

       Plaintiffs’ broadly allege in this case that the 1989 communications campaign

announcing the RAP amendment left them with the belief that benefits under the RAP

would be as good as or better than benefits under the ARP, or that they had no “risk”

from the conversion. Plaintiffs, however, have offered no evidence of any such statement

in any communication made in 1989.

       None of the three class representatives were able to identify any of their claimed

misrepresentations in the written communications. (See Tr. 6/21 AM at 19:20–20:8 (Ross

letter does not say RAP benefits will be “as good or better” than ARP benefits); Tr. 6/21

PM at 35:8–18 (Long Brochure language does not say benefits would be “equal” to



                                             37
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 46 of 61




ARP); Tr. 6/27 at 75:9–83:6, 85:18–87:25, 88:9–92:23 (identifying no untrue statements

in Long Brochure)). Instead, Plaintiffs’ testimony focused, at most, on the impressions

they were allegedly left with from reading those communications, and each resorted to

claiming there were certain things of which BP America failed to advise them. For

example, Mr. Fujimoto testified that he was never provided a comparison between his

RAP and ARP benefits. (Tr. 6/21 AM at 56:9–16.) He further testified that he did not

know whether a fluctuation in interest rates “affected his ARP benefits.” (Tr. 6/21 AM at

56:17–21.) Mr. Owen similarly testified that he was never provided a comparison of his

RAP benefit to what he would have gotten under the ARP. (Tr. 6/21 AM at 82:3–6, 92:8–

13.) Mr. Guenther testified that he believed the 1989 communications should have

contained those comparisons for all of the then-participants in the plan. (Tr. 6/27 at 93:9–

20.)

       To the extent Plaintiffs are now attempting to claim that BP America somehow

omitted from its 1989 communications the possibility that certain participants might

receive less under the RAP than they would have under the ARP, those claims are readily

defeated through reference to the documents. First, as is borne out by Plaintiffs’ own

testimony, the communications do not say that RAP benefits will be equal to or better

than ARP benefits. Instead, in the Ross letter, there is a statement that the RAP “provides

a retirement benefit to career employees that is comparable to the fully competitive

benefit under the prior formula.” (DX 6 at 1.) The Long Brochure says “[t]he Plan is

designed to provide a retirement benefit that is comparable to—and, in most cases, better




                                             38
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 47 of 61




than—the benefit you would have received under the prior pension formula.” (DX 6 at 4.)

Neither statement guarantees the benefits will be equal.

       Second, with respect to both the statements regarding comparability, and the

statement in the Ross letter that the amendment was not a cost-cutting exercise, the

testimony from Ellen Collier, Paul McAuliffe, and Karen Salinaro (as summarized in

ECF 447), demonstrates, at a minimum, those statements were consistent with BP

America’s knowledge in 1989, as supported by the analysis performed by Kwasha

Lipton. Put simply, “[a]n omission without intent to deceive cannot be a material

misrepresentation.” Callery v. Exxonmobil Corp., No. CV H-21-1086, 2021 WL

3711180, at *5 (S.D. Tex. Aug. 20, 2021) (quoting Khan v. Am. Intern. Grp, Inc., 654 F.

Supp. 2d 617, 629 (S.D. Tex. 2009)).

       Third, there can be no liability for not providing individual, participant-level

comparison of RAP and ARP benefits, for the straightforward reason that no such

comparison is required. ERISA is a “comprehensive and reticulated statute,” Nachman

Corp. v. Pension Benefit Guar. Corp., 446 U.S. 359, 361 (1980), and the reporting and

disclosure requirements are themselves “comprehensive.” See Curtiss–Wright Corp. v.

Schoonejongen, 514 U.S. 73, 83 (1995). BP America satisfied those disclosure

obligations at the time of the 1989 amendment, and Plaintiffs have never identified any

requirement (even in their untimely 204(h) or SPD claims) that would have required BP

America to provide the comparison calculations described by Mr. Guenther and Mr.




                                             39
    Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 48 of 61




Owen in their testimony.9 Indeed, with the benefit of more than forty years’ experience as

a pension consultant, Mr. Deutsch testified that he is aware of no requirement to provide

such a comparison. (Tr. 7/13 152:24–153:6.) The Court should not create new disclosure

obligations by finding any BP entity breached fiduciary duties by failing to provide

comparisons of the new formula to the defunct one; “It would be strange indeed if

ERISA's fiduciary standards could be used to imply a duty to disclose information that

ERISA's detailed disclosure provisions do not require to be disclosed.” Haviland, 730

F.3d at 571.

       The 1989 communications disseminated to participants explained all material

elements of the new plan formula. They described how opening accounts were calculated,

what service credits were, how service credits would be calculated over time, how the

interest crediting rate would be set, and how the interest crediting rate (and, where

applicable, the supplemental crediting rate based thereon) would influence benefit

accruals. What’s more, while they did not provide individualized comparisons, the

communications did disclose that the illustrative projections provided to individual

employees were based on a number of assumptions, and that actual benefits would be

determined based on the performance of variables over time. (See DX 39 at 2; DX 77 at

2; PX 460 at 2.) BP America also explained that for some, benefits under the RAP might

be lower than benefits under the ARP. (See DX 6 at 20.) Plaintiffs cannot recover based


9
  While Plaintiffs do not remember what was presented at the rollout meetings, the slides
from those meetings show that BP America did present sample calculations comparing
ARP and RAP benefits for hypothetical employees, including comparisons that showed the
possibility an employee could receive less under the RAP. (See DX 20.)

                                             40
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 49 of 61




on an alleged omission where the communications provided to them specifically

informed them of the very risk they claim was “omitted.” Vercellino v. Optum Insight,

Inc., 26 F.4th 464, 469 (8th Cir. 2022) (no violation of fiduciary duty when information

the beneficiary said ought to have been disclosed was in the plan documents, and

evidence did not show any false or misleading statements).

              c. This case is not Amara or Osberg.

       Plaintiffs want to frame this case as analogous to Cigna Corp. v. Amara, 563 U.S.

421 (2013), and Osberg v. Foot Locker, Inc., 862 F.3d 198 (2d Cir. 2017), but those cases

involved very different facts. In those cases, the courts found that the employers

knowingly hid from employees that the cash balance conversions would result in long

periods where employees earned no additional pension benefit, something known as

“wear away.”10 The undisputed evidence in this case establishes that the RAP benefits

grew each year based on pay credits and interest, with a built-in 5%/7.5% interest rate

floor. Plaintiffs received statements showing them the year by year growth, and had

access to an online dashboard and other tools that gave them transparency into the value

of their retirement benefits.

       The Court took evidence that Guenther’s 1989 opening account balance was

$6,423—consisting of the $3,342 he had accrued under the prior formula as of December

31, 1988 (through approximately 8.5 years of service), plus $3,081 calculated as the



10
  See Amara v. Cigna Corp., 534 F. Supp. 2d 288, 303–04 (D. Conn. 2008), aff'd, 348 F.
App’x 627 (2d Cir. 2009), vacated and remanded, 563 U.S. 421 (2011), and cert.
granted, cause remanded, 563 U.S. 1004 (2011) (explaining wear away).

                                            41
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 50 of 61




present value of the early retirement subsidy he could have gotten if he retired at age 55.

(DX 39 at 1.) Beginning in approximately 1998, Mr. Guenther monitored his RAP

account balance on a monthly basis, and understood it would receive interest credits at a

minimum of 5% per year, and that the value of his benefit would never decline. (Tr. 6/27

at 23:1–23, 27:7–13.) Mr. Guenther testified that, in addition to monitoring his account

balance, he requested and received several pension modeling statements, that those

statements were a powerful and transparent tool, and that they allowed him to plan for

retirement knowing exactly how much money he would have. (Tr. 6/27 at 31:2–22; DX

41.) Using those modeling statements, and in consultation with his financial advisor, Mr.

Guenther elected to retire in 2018, and took a lump sum distribution of his pension,

totaling approximately $770,000. (Tr. 6/27 at 32:4–33:2.)

       Mr. Owen testified that he understood the prior pension formula to have been

“back-end-loaded,” and that employees who left BP before retirement age would get only

a very small benefit under that formula. (Tr. 6/21 PM at 2-17:6–22.) In contrast, Mr.

Owen testified that he understood the new formula allowed benefits to grow more

smoothly over an employee’s career, and—unlike the ARP formula—it allowed

employees to see their account balance year in and year out. (Tr. 6/21 PM at 2-17:23–2-

18:9, 2-26:7–2-27:2.) Mr. Owen testified that, during the rollout process, BP America

disclosed that the RAP was “very different” than the prior formula, and that RAP benefits

would be determined through annual pay credits and interest. (Tr. 6/21 PM at 2-21:20–2-

22:4.) Mr. Owen agreed that the new plan was, in fact, very different than the prior

formula, and that, in fact, benefits under the RAP were determined by the pay and interest


                                             42
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 51 of 61




credits described in 1989. (Tr. 6/21 PM at 2-21:23–2-22:6.) Like Mr. Guenther, Mr.

Owen testified that he received statements for his RAP account, which showed him how

much his account was being credited with interest and service credits in each period, and

that the value of his benefit under the RAP was easier to understand than the value had

been under the prior formula. (Tr. 6/21 PM at 2-22:7–21.)

       Mr. Owen testified that his RAP account never went down, and that the formula

always provided for positive interest credits and positive service credits. (Tr. 6/21 PM at

2-28:2–8.) He testified that he knew, from the 1989 communications, that the interest rate

would change on an annual basis, and that he understood his account would grow faster

with a higher interest rate and slower with a lower one. (Tr. 6/21 PM at 2-30:2–16.) He

acknowledged that the only people who received a promise, in 1989, that their retirement

benefit would be the greater of their benefits under the ARP or RAP formulas were those

people who were over age 50 as of January 1, 1989. (Tr. 6/21 PM at 2-30:22–2-31:9.)

       Mr. Owen’s account statements show he had an opening account balance of

$32,955 as of January 1, 1989, and that his total RAP account increased to $43,349.66 by

the end of 1989 (DX 259), to $56,105.38 by then end of 1990 (DX 260), and to

$72,165.92 by the end of 1991 (DX 262). Consistent with his testimony that the account

value always increased, Mr. Owen’s statements show consistent annual growth (see, e.g.,

DX 263–270), ultimately growing to a lump sum benefit in excess of $760,000. (Tr. 6/21

PM at 2-81:22–25.)

       Mr. Fujimoto’s account statements similarly document consistent growth from

1989 through his retirement. (See DX 78; DX 79; DX 86.) Mr. Fujimoto testified that he


                                             43
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 52 of 61




received those statements, read them, and that they were clear to understand. (Tr. 6/21

AM at 37:3–10.) The RAP grew at all times, and worked precisely as it was described in

1989.

        In contrast to the facts of this case, the communications in Amara were knowingly

false. Although it knew otherwise, Cigna represented that: (1) the new plan would

“significantly enhance” its “retirement program,” would produce “an overall

improvement in . . . retirement benefits,” and would provide “the same benefit security”

with “steadier benefit growth”; (2) employees would “see the growth in [their] total

retirement benefits from CIGNA every year,”; (3) its initial deposit “represent[ed] the full

value of the benefit [they] earned for service before 1998,”; and (4) that “[o]ne advantage

the company will not get from the retirement program changes is cost savings.” Amara,

563 U.S. at 428. As outlined above, the Plaintiff’s cannot shoehorn their argument

regarding a failure to disclose an “interest rate risk” into the type of knowingly false

claims made in the Amara case.11

        In Osberg, a Foot Locker witness admitted that, even though she and senior

management knew that the cash balance conversion would result in an effective freeze of

pension benefits for most participants, she made an “affirmative decision,” consistent

with senior management’s wishes, not to include the “bad news” of the “wear-away” in



11
  Amara also was not a fiduciary breach claim, but instead one timely asserting claims
for violations of ERISA’s statutory disclosure requirements. See Amara v. CIGNA Corp.,
775 F.3d 510, 516 (2d Cir. 2014) (in discussion of appropriate remedy, describing
underlying liability finding as violation §§ 102(a) and 204(h) of ERISA, 29 U.S.C.
§§ 1022(a) and 1054(h)).

                                             44
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 53 of 61




an introductory letter sent to plan participants. Osberg, 862 F.3d at 203-04. Again, there

is no evidence of a “wear-away” in this case. Similarly, the evidence of BP America’s

intent and what it knew is the polar opposite of the deception found in Osberg.

V.     Plaintiffs’ Continued Reliance On Alleged Oral Statements and Isolated
       Communications Prevents Class-wide Recovery.

       Plaintiff Guenther testified about alleged statements made to him about a local HR

representative, Larry Motz, about his opening account balance, (Tr. 6/26/2023 at 55:12–

56:10.) Plaintiffs have also introduced deposition testimony from Art Balfe, Jerry Grdina,

and Barry Cohn—three potential class members—who claim to have had conversations

with an executive named Donald Duckworth in which he supposedly promised them that

RAP benefits would be as good as or better than ARP benefits, and suggested that BP

America would amend the plan again if that turned out not to be true. The conversations

these four individuals describe cannot be the basis for any misrepresentation claim; a

contrary finding would require decertification of the class.

       According to Plaintiffs, this case, and the relief sought, is based on the idea that

BP Corporation North America made uniform, written communications to all RAP

participants. (ECF 191 at 18, 25.) From that representation, the Court certified the class

and the subclass based on the fact that the case “focuses on written uniformly

disseminated communications, not oral communications.” (ECF 267 at 17.) Plaintiffs

seek a uniform plan-wide remedy: equitable reformation.

       Duckworth’s alleged statements at a pre-roll out meeting involving a few

individuals are not part of the claim asserted, and are not relevant to the issues to be tried



                                              45
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 54 of 61




in this case. None of the named class representatives nor the one class member who

testified in Court heard or were aware of them. Likewise, there is no evidence that they

were not uniformly distributed to class members. Indeed, the evidence is just the

opposite. Further, Plaintiffs have adduced no evidence that Duckworth was a fiduciary at

the time he made these alleged statements. Similarly, there is no evidence that Duckworth

had any role in the “communications campaign” including the train the trainers sessions

that provided training to the actual BP America personnel who actually held the

meetings. To the extent Duckworth’s alleged statements can be construed as promising

anything about future RAP benefits, he had no authority to override the governing Plan

document. If Duckworth went “off-script,” and made promises contrary to the written

Plan terms, neither BP America nor BP Corporation North America can be held liable.

See Ladouceur v. Credit Lyonnais, 584 F.3d 510, 512–13 (2d Cir. 2009) (citations

omitted) (oral statements cannot directly amend terms of a pension plan, and cannot be

given that effect by allowing them to be re-framed as fiduciary breach claims; “[g]iving

such effect to an oral statement ‘would undermine ERISA's framework which ensures

that [ERISA] plans be governed by written documents,’ as well as dilute the protection

conferred by the writing requirement, which prevents ‘employees from having their

benefits eroded by oral modifications to the plan’”).

       Evidence of non-uniform oral statements also is not relevant to any remaining

issue in this case. “Several courts have concluded that ERISA fiduciary claims based on

oral representations are not suitable for class certification precisely because they

require . . . individualized proof, and thus fail the commonality and typicality


                                             46
     Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 55 of 61




requirements.” Tootle v. ARINC, Inc., 222 F.R.D. 88, 96 (D. Md. 2004) (citing Gesell v.

Commonwealth Edison Co., 216 F.R.D. 616, 623–25 (C.D. Ill. 2003)); see also Fitzwater

v. CONSOL Energy, Inc., No. 1:17-CV-03861, 2019 WL 5191245, at *13 (S.D.W. Va.

Oct. 15, 2019); Lemberg v. Scottsdale Healthcare Corp. Health Plan, No. CV-11-00271-

PHX-ROS, 2013 WL 12097449, at *4 (D. Ariz. Feb. 4, 2013); Spencer v. Cent. States,

Se. & Sw. Areas Pension Fund, 778 F. Supp. 985, 990-91 (N.D. Ill. 1991).12 Plaintiffs

have never offered a way to address and resolve, on a classwide basis, issues related to

alleged oral misrepresentations and individual “perception” of the alleged

misrepresentations.

       In Tootle, the court denied class certification because it would “need to evaluate

any oral representations made to class members attending these meetings—which could

vary significantly among the class members—to determine if these representations are

sufficient to overcome” the misleading effect of “any alleged omissions in the written

materials on which Tootle relies.” 222 F.R.D. at 96.

       If the Court is inclined to consider Motz’s statements to Guenther, or to attribute

any significance to statements allegedly made by Duckworth, the class in this case must

be de-certified. A class that requires the Court to “wade through” individual



12
  See also Martin v. Shell Oil Co., 198 F.R.D. 580, 592–93 (D. Conn. 2000) (denying
class certification because issues supported by common evidence were not enough “to
overcome the extensive individualized proof of . . . breach [and] causation . . . likely to be
required”); Mick v. Ravenswood Aluminum Corp., 178 F.R.D. 90, 92–94 (S.D.W. Va.
1998); Sprague v. Gen. Motors Corp., 133 F.3d 388, 398 (6th Cir. 1998) (finding
commonality lacking because “there must have been variations in the early retirees'
subjective understandings of the representations and in their reliance on them”).

                                             47
      Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 56 of 61




circumstances to assess membership is not adequately defined or ascertainable. See

Robinson v. Gen. Motors Co., No. 4:15-CV-158-Y, 2015 WL 13731154, at *3 (N.D. Tex.

Oct. 21, 2015) (declining to certify class of employees “who may seek unpaid leave for a

holy day because of a religious belief” because determining class membership would

require court to consider “each individual’s circumstance,” including whether leave was

requested, whether it was unpaid, and whether it was based on religion).13

VI.     Fujimoto’s Release Bars His Claim, And Those Of The Sub-Class He
        Represents.

        Plaintiff Fujimoto signed a valid and enforceable settlement agreement with BP

Corporation North America, including all subsidiaries and affiliates. (DX 1060.) He

released his right to bring this claim. The Court should dismiss his claim and that of the

sub-class he represents.

        “[A] general release of ‘any and all’ claims applies to all possible causes of action,

unless a statute specifically and expressly requires a release to mention the statute for the

release to bar a cause of action under the statute. ERISA contains no such requirements.”

Chaplin v. NationsCredit Corp., 307 F.3d 368, 373 (5th Cir. 2002); Peters v. Reliance

Standard Life Ins. Co., 238 F.Supp.3d 905, 911 (S.D. Tex. 2017).




13
  See also In re Principal U.S. Prop. Account ERISA Litig., No. 4:10-CV-00198-JEG,
2013 WL 7218827, at *34 (S.D. Iowa Sept. 30, 2013) (on ascertainability: “[d]ue to the
lengthy, individualized inquiry necessary to determine which investors satisfy the class
definition”); Alasin v. Westinghouse Savannah River Co., No. CIV.A.1:05-1045HFF-B,
2008 WL 2169427, at *6 (D.S.C. May 23, 2008) (declining to certify class where “it will
be necessary to examine and determine numerous personal variables for each employee,”
including “individualized inquiries about each employee's employment history”).

                                              48
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 57 of 61




       The Fifth Circuit “employ[s] a two-step burden-shifting framework to assess a

waiver’s validity and enforceability.” Clayton v. ConocoPhillips Co., 722 F.3d 279, 292

(5th Cir. 2013) (citing O'Hare v. Global Natural Resources, Inc., 898 F.2d 1015 (5th Cir.

1990) (superseded on other grounds by statute)) First, a party must “establish[] that his

opponent (1) signed a release that addresses the claims at issue, (2) received adequate

consideration, and (3) breached the release . . . .” Id. (quoting Williams v. Phillips

Petroleum Co., 23 F.3d 930, 935 (5th Cir. 1994) (numbering added for clarity).

       Here, Plaintiff Fujimoto testified that, after his employment ended, and after he

had received his RAP benefit, he signed a settlement agreement with BP in exchange for

$75,000 to which he was not otherwise entitled. (Tr. 6/21/23 at 45:10–13; 46:23–47:7.)

His release precluded all claims, including ERISA claims, with a narrow exception for

claims “under Section 502(a)(1) or 503 of ERISA . . . .” The only claim here is an ERISA

Section 502(a)(3) claim, which is not within the narrow exception. (ECF 82 at ¶¶ 96-

114.) Despite the terms of that release, Plaintiff Fujimoto initiated this action.

       Based on BP’s satisfaction of its burden as to the release, the burden shifts to

Plaintiffs to “demonstrate[e] that the release was invalid because of fraud, duress,

material mistake, or some other defense.” Clayton, 722 F.3d at 292. Courts evaluate any

such defense on the totality of the circumstances. Id.

       As he testified at trial, Fujimoto was represented by counsel when he knowingly

and voluntarily signed his release. (Tr. 6/21/23 at 46:11–13.) By the terms of his

settlement agreement, he had forty-five days to consider the agreement prior to signing.

And, the agreement is clear and concise, including many labels, short paragraphs, and


                                              49
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 58 of 61




common prose. There is no fraud, duress, or mistake. The release is valid and

enforceable.

       Fujimoto attempts to carry his burden using an inappropriate (and inadmissible)

reference to extrinsic evidence, which he claims modifies his release. (Tr. 6/20/23 at

134:9–136:14.) Even if considered, however, that email does not modify the terms of the

release in the settlement agreement. Plaintiffs have pointed to a single sentence in an

email from a BP attorney to Fujimoto’s attorney, that states “the offered payment is not

related to any claims that the Fujimotos may feel they have related to their pension

benefits.” (PX 69.) Nothing about that sentence—or the rest of the correspondence in the

exhibit—modifies the terms of the agreement itself. The $75,000 payment did not need to

relate to the claim at issue here for the release to cover that claim. “[A] general release of

‘any and all’ claims applies to all possible causes of action, unless a statute specifically

and expressly requires a release to mention the statute for the release to bar a cause of

action under the statute. ERISA contains no such requirements.” See Chaplin, 307 F.3d at

373.

       Plaintiffs’ sole remaining argument that Fujimoto’s release does not bar the claim

asserted here rests on ERISA’s anti-alienation rule, and fails to save the claim. ERISA’s

anti-alienation rule mandates that “[e]ach pension plan shall provide that benefits

provided under the plan may not be assigned or alienated.” 29 U.S.C. § 1056(d)(1)

(emphasis added). Plaintiffs’ claim here does not seek payment of a benefit provided by

the RAP; it seeks to reform the RAP to provide for a different benefit. Plaintiffs’ expert

confirmed there is no claim for additional benefits under the RAP formula in the case.


                                              50
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 59 of 61




(Tr. 7/13 at 38:9–11.) Settlement of that claim does not involve alienation of a vested

pension benefit, and does not fall within the text of the anti-alienation rule.

       Regardless, the Supreme Court has rejected the argument Plaintiffs advance.

ERISA’s anti-alienation provision does not operate to invalidate waivers of claims, even

as to claims for benefits. See Kennedy v. Plan Adm'r for DuPont Sav. & Inv. Plan, 555

U.S. 285, 297–99 (2009) (rejecting Fifth Circuit’s holding that anti-alienation rule

invalidated ex-spouse’s waiver of any benefit entitlement in divorce decree; affirming on

other grounds). “In Kennedy, the Supreme Court held that ERISA's anti-alienation

provision does not apply to the waiver or release of rights to vested benefits under an

ERISA-governed plan.” Bacon v. Stiefel Lab'ys, Inc., No. 09-21871-CV-KLNG, 2011

WL 4944122, at *7 (S.D. Fla. Oct. 17, 2011). Even the case Plaintiffs rely on to support

their argument—which pre-dates Kennedy—enforced the waiver at issue. See Rhoades v.

Casey, 196 F.3d 592, 600 (5th Cir. 1999).

                                      CONCLUSION

       Defendants respectfully request that the Court grant this motion, enter judgment in

favor of Defendants, and award any other relief it deems appropriate.




                                              51
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 60 of 61




Dated: July 14, 2023                     Respectfully submitted,

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                                           52
   Case 4:16-cv-00995 Document 469 Filed on 07/14/23 in TXSD Page 61 of 61




                            CERTIFICATE OF SERVICE

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                                            53
